                            Case 24-10957-CTG                       Doc 1         Filed 05/06/24             Page 1 of 22


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter        11                                                       amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Appgate Cybersecurity, Inc.


                                                 Cyxtera Cybersecurity, Inc. d/b/a AppGate;
2. All other names debtor used
   in the last 8 years                           SIS Acquisition Corp. II;
                                                 SIS Acquisition Corp. III;
     Include any assumed names,                  SIS Acquisition Corp. IV;
     trade names, and doing                      Cyxtera Software, Inc.;
     business as names                           Newton Merger Sub Corp.

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       2 Alhambra Plaza
                                       Number              Street                                     Number         Street

                                       Suite PH – 1 – B
                                                                                                      P.O. Box
                                       Coral Gables                     Florida     33134
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Miami-Dade County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.appgate.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                               Case 24-10957-CTG                  Doc 1         Filed 05/06/24           Page 2 of 22
Debtor            Appgate Cybersecurity, Inc.                                         Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                            5182

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do not
      (whether or not the debtor is                     exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if any
                                                        of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☒      A plan is being filed with this petition.
                                                 ☒      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                        Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                        Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                             Case 24-10957-CTG                      Doc 1        Filed 05/06/24          Page 3 of 22
Debtor           Appgate Cybersecurity, Inc.                                          Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                      Relationship    Affiliate
                                                     Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?
   List all cases. If more than 1,                   District      District of Delaware                             When            05/06/2024
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☐   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?
                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                        options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                          Number       Street



                                                                                          City                              State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                     ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☐      1-49                         ☒       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                  ☐      50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)              ☐      100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                     ☐      200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
                             Case 24-10957-CTG                   Doc 1          Filed 05/06/24           Page 4 of 22
Debtor           Appgate Cybersecurity, Inc.                                        Case number (if known)
          Name



15. Estimated assets (on a          ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)             ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million        ☒     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on       ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)           ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐ $1,000,000,001-$10 billion
                                    ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                    ☐      $500,001-$1 million          ☒    $100,000,001-$500 million              ☐ More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    authorized representative of
    debtor                              I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         05/06/2024
                                                             MM/ DD / YYYY


                                             /s/ Rene A. Rodriguez                                              Rene A. Rodriguez
                                             Signature of authorized representative of debtor                Printed name

                                             Title    Chief Financial Officer




18. Signature of attorney                    /s/ Patrick Reilley                                            Date        05/06/2024
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Patrick Reilley
                                             Printed name
                                             Cole Schotz P.C.
                                             Firm name
                                             500                        Delaware Avenue
                                             Number                     Street
                                             Wilmington                                                             DE                19801
                                             City                                                                   State               ZIP Code

                                             (302) 651-2004                                                         preilley@coleschotz.com
                                             Contact phone                                                               Email address
                                             4451                                                Delaware
                                             Bar number                                          State




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
                           Case 24-10957-CTG            Doc 1      Filed 05/06/24   Page 5 of 22




 Fill in this information to identify the case:
                                                                       ,
 United States Bankruptcy Court for the:
                             District of Delaware
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                            Chapter   11                                         amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of Appgate, Inc.

    Appgate, Inc.
    Appgate Cybersecurity, Inc.
    Catbird Networks, Inc.
    Cryptzone International Holdings, Inc.
    Cryptzone North America, Inc.
    Cryptzone Worldwide, Inc.
    Easy Solutions Enterprises Corp.
    Easy Solutions, Inc.
    Immunity Federal Services, LLC
    Immunity Products, LLC
    Immunity Services, LLC
    Immunity, Inc.
                  Case 24-10957-CTG           Doc 1        Filed 05/06/24   Page 6 of 22



                             IN THE UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF DELAWARE

                                                       )
    In re:                                             )      Chapter 11
                                                       )
    APPGATE CYBERSECURITY, INC.,                       )      Case No. 24-___________(___)
                                                       )
                            Debtor.                    )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS1

                                                                                       Percentage of
               Equity Holder                    Address of Equity Holder
                                                                                        Equity Held
                                             2 Alhambra Plaza, Suite PH-1-B
                Appgate, Inc.                                                              100%
                                               Coral Gables, Florida 33134




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
                Case 24-10957-CTG            Doc 1        Filed 05/06/24   Page 7 of 22



                          IN THE UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 APPGATE CYBERSECURITY, INC.,                         )      Case No. 24-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                Shareholder                               Approximate Percentage of Shares Held
                Appgate, Inc.                                            100%
                                  Case 24-10957-CTG               Doc 1       Filed 05/06/24      Page 8 of 22


Fill in this information to identify the case:

Debtor name: Appgate, Inc., et al.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 24-_____

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders, on a Consolidated Basis                                                                                  12/15

A list of creditors holding the 30 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
Largest unsecured claims.

    Name of creditor and             Name, telephone number, and       Nature of the    Indicate if Amount of unsecured claim
    complete mailing address,        email address of creditor contact claim            claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                                 (for example,    contingent, claim amount. If claim is partially secured, fill in
                                                                       trade debts,     unliqui-    total claim amount and deduction for value of
                                                                       bank loans,      dated, or collateral or setoff to calculate unsecured claim.
                                                                       professional     disputed
                                                                       services, and                Total claim,       Deduction for Unsecured
                                                                       government                   if partially       value of            claim
                                                                       contracts)                   secured            collateral or
                                                                                                                       setoff

1   Gartner                          Accounts Receivable                  Trade Claim     ¨C                                             $1,094,675.01
    12651 Gateway Blvd               Tel: (239) 561-4815
    Ft Meyers FL 33913               AccountsReceivable.NA2@gartner.com                   ¨U
                                                                                          ¨D
2   Greenberg Traurig P.A.           Robert Martell                       Trade Claim     ¨C                                             $444,596.02
    333 S.E. 2nd Avenue Suite        Tel: (305) 789-5425
    4400                             Robert.Martell@gtlaw.com                             ¨U
    Miami FL 33131
                                                                                          ¨D
3   BDO USA LLP                      Tracy Gates                          Trade Claim     ¨C                                             $345,899.34
    330 North Wabash                 Tel: (216) 325-1700
    Suite 3200                       tgates@bdo.com                                       ¨U
    Chicago IL 60611
                                                                                          ¨D
4   Amazon Web Services              Accounts Receivable                  Trade Claim     ¨C                                             $252,116.65
    410 Terry Avenue North           Tel: (833)-448-2289
    Seattle WA 98109-5210            aws-receivables-support@amazon.com                   ¨U
                                                                                          ¨D
5   Softtek Integration Systems      Ivette Viramontes Macías             Trade Claim     ¨C                                             $162,000.00
    Inc.                             Tel: 52(81) 1932-4400
    15303 Dallas Pkwy                ivette.viramontes@softtek.com                        ¨U
    Suite 200
    Addison TX 75001
                                                                                          ¨D
6   Fontainebleau Miami Beach        Jason LaCkore                        Trade Claim     ¨C                                             $116,807.83
    PO Box 865011                    Tel: (954) 868-0007
    Orlando FL 32886-5011            jlackore@fontainebleau.com                           ¨U
                                                                                          þD




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                            Page 1
                                 Case 24-10957-CTG             Doc 1      Filed 05/06/24        Page 9 of 22

Debtor    Appgate, Inc., et al.                                                                               Case number (if known) 24-_____

    Name of creditor and            Name, telephone number, and       Nature of the   Indicate if Amount of unsecured claim
    complete mailing address,       email address of creditor contact claim           claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                                (for example,   contingent, claim amount. If claim is partially secured, fill in
                                                                      trade debts,    unliqui-    total claim amount and deduction for value of
                                                                      bank loans,     dated, or collateral or setoff to calculate unsecured claim.
                                                                      professional    disputed
                                                                      services, and               Total claim,       Deduction for Unsecured
                                                                      government                  if partially       value of            claim
                                                                      contracts)                  secured            collateral or
                                                                                                                     setoff

7   Daversa Partners                Cindy Blount                     Trade Claim        ¨C                                             $116,664.00
    330 Madison Avenue              Tel: (917) 364-2958
    New York NY 10017               cindy.blount@daversapartners.com                    ¨U
                                                                                        ¨D
8   Expel, Inc.                     AR Team                           Trade Claim       ¨C                                             $113,844.00
    12950 Worldgate Drive           Tel: (844) 397-3524
    Suite 200                       ar@expel.io                                         ¨U
    Herndon VA 20170
                                                                                        ¨D
9   Optiv Security, Inc.            AR Team                           Trade Claim       ¨C                                             $109,673.65
    1144 15th St.                   Tel: (800) 574-0896
    Suite 2900                      AR@Optiv.com                                        ¨U
    Denver CO 80202
                                                                                        ¨D
10 Insight - PCM                    Nicolas Tjorbajes                 Trade Claim       ¨C                                             $104,152.10
   File 55327                       Tel: (800) 934-4477
   Los Angeles CA 90074-5327        Nicolas.Tjorbajes@insight.com                       ¨U
                                                                                        ¨D
11 GitHub, Inc                      Accounts Receivable               Trade Claim       ¨C                                             $95,208.67
   88 Colin P Kelly Jr. Street      ar@github.com
   San Francisco CA 94107                                                               ¨U
                                                                                        ¨D
12 Google Inc.                      The Collections Team              Trade Claim       ¨C                                             $65,631.18
   PO Box 39000 Dept. 33654         remittance-request@google.com
   San Fransisco CA 94139                                                               ¨U
                                                                                        ¨D
13 Leidos, Inc.                     Amy Flores                        Trade Claim       ¨C                                             $52,912.50
   1750 Presidents St               Tel: (520) 571-7630
   Reston VA 20190                  Amy.J.Flores@leidos.com                             ¨U
                                                                                        ¨D
14 Okin Process Inc                 Marisa Ponce                      Trade Claim       ¨C                                             $50,943.00
   7965 Kennedy Hill Drive          Tel: (210) 852-4008
   San Antonio TX 78221             marisa.ponce@okinprocess.com                        ¨U
                                                                                        ¨D
15 Kojima                           Nakamura Kumiko                   Trade Claim       ¨C                                             $48,454.11
   Gobancho Kataoka Bldg 4F         Tel: 81-3-3222-1401
   Tokyo 13 999-9999                nakamura@kojimalaw.jp                               ¨U
   Japan
                                                                                        ¨D
16 Anvil Ventures, Inc.             Larry Sledge                      Trade Claim       ¨C                                             $48,300.00
   DBA Anvil Secure                 larry.sledge@anvilventures.com
   2125 Western Ave                                                                     ¨U
   Suite 2
   Seattle WA 98121
                                                                                        ¨D




Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                         Page 2
                              Case 24-10957-CTG                  Doc 1      Filed 05/06/24      Page 10 of 22

Debtor   Appgate, Inc., et al.                                                                                 Case number (if known) 24-_____

    Name of creditor and            Name, telephone number, and       Nature of the    Indicate if Amount of unsecured claim
    complete mailing address,       email address of creditor contact claim            claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                                (for example,    contingent, claim amount. If claim is partially secured, fill in
                                                                      trade debts,     unliqui-    total claim amount and deduction for value of
                                                                      bank loans,      dated, or collateral or setoff to calculate unsecured claim.
                                                                      professional     disputed
                                                                      services, and                Total claim,       Deduction for Unsecured
                                                                      government                   if partially       value of            claim
                                                                      contracts)                   secured            collateral or
                                                                                                                      setoff

17 Udemy, Inc                       AR Team                              Trade Claim     ¨C                                             $47,300.00
   600 Harrison St                  ar@udemy.com
   3rd Fl                                                                                ¨U
   San Francisco CA 94107
                                                                                         ¨D
18 Reveneer Inc.                    Diem Lu                              Trade Claim     ¨C                                             $45,500.00
   10 State St.                     Tel: (978) 273-1870
   2nd Floor                        Dlu@reveneer.io                                      ¨U
   Woburn MA 01801
                                                                                         ¨D
19 GuidePoint Security LLC          Accounts Receivable                  Trade Claim     ¨C                                             $38,700.00
   2201 Cooperative Way             Tel: (877) 889-0132
   Suite 225                        ar@guidepointsecurity.com                            ¨U
   Herndon VA 20171
                                                                                         ¨D
20 ISMG - Information Security      ISMG Accounting                      Trade Claim     ¨C                                             $35,000.00
   Media G                          Tel: (609) 356-1499
   902 Carnegie Center              accounting@ismg.io                                   ¨U
   Ste 430
   Princeton NJ 08540
                                                                                         ¨D
21 LinkedIn Corporation             LinkedIn Receivables Department      Trade Claim     ¨C                                             $33,433.52
   62228 Collections Center Drive   Tel: (206) 777 4750
   Chicago IL 60693-0622            receivables-namerica@linkedin.com                    ¨U
                                                                                         ¨D
22 International CIO Leadership     Kristin Hayes                        Trade Claim     ¨C                                             $33,000.00
   Association                      Tel: (706) 974-8749
   1 Concourse Pkwy Suite 100       accounting@inspirecio.com                            ¨U
   Atlanta GA 30328
                                                                                         ¨D
23 ZoomInfo Technologies LLC        Accounts Receivable                  Trade Claim     ¨C                                             $28,180.00
   805 Broadway St                  Tel: (866) 904-9666
   Suite 900                        ar@zoominfo.com                                      ¨U
   Vancouver WA 95113
                                                                                         ¨D
24 Carahsoft Technology Corp        Sage Physic                          Trade Claim     ¨C                                             $27,119.36
   11493 Sunset Hills Rd.           Tel: (571) 662-4963
   Suite 100                        Sage.Physic@Carahsoft.com                            ¨U
   Reston VA 20190
                                                                                         ¨D
25 Protiviti                        Maryann Kanemoto                     Trade Claim     ¨C                                             $26,160.47
   12269 Collections Ctr Dr         procash-ar@protiviti.com
   Chicago IL 60693                                                                      ¨U
                                                                                         ¨D
26 SMB Group, LLC                   Suzel Broe                           Trade Claim     ¨C                                             $26,075.55
   7830 SW 85th Court               suzelbroe@hotmail.com
   Miami FL 33143                                                                        ¨U
                                                                                         ¨D




Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                            Page 3
                               Case 24-10957-CTG                 Doc 1      Filed 05/06/24      Page 11 of 22

Debtor   Appgate, Inc., et al.                                                                                 Case number (if known) 24-_____

    Name of creditor and          Name, telephone number, and       Nature of the      Indicate if Amount of unsecured claim
    complete mailing address,     email address of creditor contact claim              claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                              (for example,      contingent, claim amount. If claim is partially secured, fill in
                                                                    trade debts,       unliqui-    total claim amount and deduction for value of
                                                                    bank loans,        dated, or collateral or setoff to calculate unsecured claim.
                                                                    professional       disputed
                                                                    services, and                  Total claim,       Deduction for Unsecured
                                                                    government                     if partially       value of            claim
                                                                    contracts)                     secured            collateral or
                                                                                                                      setoff

27 MorganFranklin Consulting      MFC Billing
                                  billinginquiries@morganfranklin.com
                                                                         Trade Claim     ¨C                                             $25,800.51
   LLC
   420 Lexington Avenue                                                                  ¨U
   Suite 1650
   New York NY 10170
                                                                                         ¨D
28 Fragomen                       Matthew Heney                          Trade Claim     ¨C                                             $20,616.42
   1400 Broadway                  Tel: (732) 862 5158
   New York NY 10018              mheney@fragomen.com                                    ¨U
                                                                                         ¨D
29 Navex Global Inc.              Accounts Receivable                    Trade Claim     ¨C                                             $18,064.95
   PO Box 60941                   Tel: (866) 297-0224
   Charlotte NC 28260-0941        ar@navex.com                                           ¨U
                                                                                         ¨D
30 CDW Direct LLC                 Customer Relations                     Trade Claim     ¨C                                             $17,396.00
   PO Box 75723                   CustomerRelations@web.cdw.com
   Chicago IL 60675-5723                                                                 ¨U
                                                                                         ¨D




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                             Page 4
                          Case 24-10957-CTG                      Doc 1     Filed 05/06/24            Page 12 of 22



    Fill in this information to identify the case and this filing:

   Debtor Name          Appgate Cybersecurity, Inc.

   United States Bankruptcy Court for the:                District of Delaware
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       05/06/2024                                 /s/ Rene A. Rodriguez
                                       MM/DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                 Rene A. Rodriguez
                                                                                 Printed name
                                                                                 Chief Financial Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
            Case 24-10957-CTG         Doc 1     Filed 05/06/24    Page 13 of 22



               OMNIBUS ACTION BY UNANIMOUS WRITTEN
                CONSENT OF THE BOARDS OF DIRECTORS
             AND THE BOARDS OF MANAGERS, AS APPLICABLE,
         OF APPGATE, INC. AND EACH OF THE SUBSIDIARIES HERETO

                                  Dated as of May 6, 2024

        The undersigned, being all members of the board of directors or sole managing
members, as applicable (each, a “Governing Body,” and collectively, the “Governing
Bodies”) of Appgate, Inc. and each of the subsidiaries listed on Schedule I hereof (each,
a “Company,” and collectively, the “Companies”), in lieu of a special meeting of each
Governing Body in accordance with the bylaws, operating agreements, articles of association,
or limited liability company agreements of each Company (collectively, the “Governing
Documents”), as applicable, and the applicable laws of the jurisdiction in which such
Company is organized, do hereby approve, consent to, and adopt the following recitals and
resolutions, with the same force and effect as if they had been adopted at a duly convened
meeting of each Governing Body.

        WHEREAS, on May 3, 2024, following extensive, good-faith, arm’s length
negotiations, the Companies entered into the restructuring support agreement (including all
exhibits attached thereto, the “RSA”) by and among each Company and the Consenting
Stakeholders (as defined in the RSA);

        WHEREAS, each Governing Body has reviewed and considered: (a) the filing of
voluntary petitions for relief (collectively, the “Bankruptcy Petitions”) for each Company
under the provisions of chapter 11 of the United States Code (the “Bankruptcy Code”) in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”)
pursuant to the Governing Documents, as applicable, and the applicable laws of the
jurisdiction in which each Company is organized (together with the transactions contemplated
by the RSA, the “Restructuring Matters”); (b) the filing of a plan of reorganization (as may be
amended, modified, or supplemented form time to time, the “Plan”) and related disclosure
statement (as may be amended, modified, or supplemented from time to time, the “Disclosure
Statement”) pursuant to the Bankruptcy Code in accordance with the milestones set forth in
the RSA; (c) entry into and performance under the DIP Facility Documents (as defined
herein); and (d) the retention of professionals by each Company;

       WHEREAS, the Companies propose to enter into that certain Superpriority Secured
Debtor-in-Possession Credit Agreement by and among Appgate Cybersecurity, Inc., a
Delaware corporation (the “Borrower”), each Guarantor (as defined in the DIP Credit
Agreement) party thereto from time to time, the Lenders (as defined in the DIP Credit
Agreement) party thereto from time to time, and U.S. Bank Trust Company, National
Association, as administrative agent and collateral agent (the “DIP Credit Agreement”);

       WHEREAS, each Governing Body has determined that the DIP Credit Agreement
and the other transactions contemplated by the DIP Facility Documents (as defined below) are
necessary or convenient to the conduct, promotion, or attainment of the business of each
Company;

        WHEREAS, each Governing Body deems it desirable and in the best interests of the
respective Companies to approve, as applicable, the DIP Credit Agreement, the DIP Facility
Documents (as defined below), and the use of Cash Collateral (as defined below);
            Case 24-10957-CTG          Doc 1     Filed 05/06/24     Page 14 of 22




        WHEREAS, each Governing Body has reviewed and considered the materials
presented by the management of each Company and each Company’s financial and legal
advisors, and has had adequate opportunity to consult with such persons regarding the
materials presented, obtain additional information, and fully consider each of the strategic
alternatives available to each Company; and

        WHEREAS, each Governing Body has determined, in its business judgement, that the
following resolutions are advisable and in the best interest of the Companies, their creditors,
other stakeholders, and other parties in interest.

      NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the
Governing Documents, as applicable, each Governing Body does hereby adopt, on behalf of
the Company of which it is the Governing Body, the following resolutions:

CHAPTER 11 FILING

        RESOLVED, that in the business judgment each Governing Body, it is desirable and
in the best interest of each Company, its stakeholders, its creditors, and other parties in
interest, that each Company files or causes to be filed the Bankruptcy Petitions under the
Bankruptcy Code in the Bankruptcy Court, and any other petition for relief or recognition or
other order that may be desirable under applicable law in the United States, and, in accordance
with the Governing Documents, as applicable, of each Company and the applicable laws of
the jurisdiction in which such Company is organized, hereby consents to, authorizes, and
approves the filing of the Bankruptcy Petitions;

        FURTHER RESOLVED, that any director or other duly appointed officer of each
Company (collectively, the “Authorized Persons,” and each an “Authorized Person”), shall be,
and each of them individually hereby is, authorized and directed for and on behalf of each
Company to take all actions (including, without limitation, to negotiate and execute any
documents, certificates, supplemental agreements, and instruments) to act as signatory and
attorney on behalf of each Company in respect of the Restructuring Matters and/or any
persons to whom such Authorized Persons delegate certain responsibilities, be, and hereby
are, authorized, empowered, and directed to execute and file on behalf of each Company all
petitions, schedules, lists, and other motions, papers, or documents, and to take any and all
action that they deem necessary or proper to obtain such relief, including, without limitation,
any action necessary or proper to maintain the ordinary course operations of each Company’s
business;

       FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed to execute and file on behalf of each Company all other petitions,
schedules, lists, and other motions, papers, or documents, and to take any and all action that
they deem necessary or proper to obtain such relief, including, without limitation, any action
necessary to maintain the ordinary course operation of the Companies’ businesses;

USE OF CASH COLLATERAL, DEBTOR IN POSSESSION FINANCING, AND
ADEQUATE PROTECTION

        FURTHER RESOLVED, that in the business judgment of each Governing Body, it
is desirable and in the best interest of each Company, its stakeholders, its creditors, and other
parties in interest to obtain the benefits of: (a) the use of cash collateral, as such term is


                                               2
            Case 24-10957-CTG          Doc 1    Filed 05/06/24     Page 15 of 22



defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”), which is security
for certain of the Companies’ prepetition secured lenders under certain credit facilities by and
among certain of the Companies, the guarantors party thereto, and the lenders party thereto
and (b) the incurrence of debtor in possession financing obligations pursuant to the DIP Credit
Agreement (the “DIP Financing”) by entering into a superpriority secured term loan credit
facility (the “DIP Facility”), subject to the terms of the DIP Credit Agreement;

        FURTHER RESOLVED, that the Authorized Persons, acting alone or with one or
more other Authorized Persons be, and they hereby are, authorized, empowered and directed
to execute and file on behalf of each Company all petitions, schedules, lists and other motions,
papers, or documents, and to take any and all action that they deem necessary or proper to
obtain such relief, including, without limitation, any action necessary to maintain the ordinary
course operation of each Company’s business;

       FURTHER RESOLVED, that each Company will obtain benefits from the
incurrence of the DIP Financing;

       FURTHER RESOLVED, that in order to use and obtain the benefits of the DIP
Financing and Cash Collateral, and in accordance with section 363 of the Bankruptcy Code,
each Company will provide certain liens, claims, and adequate protection to the Lenders (as
defined in the DIP Credit Agreement) (collectively, the “DIP Obligations”) as documented in
a proposed order in interim and final form (together, the “DIP Orders”) to be submitted for
approval to the Bankruptcy Court;

        FURTHER RESOLVED, that in the business judgment of each Governing Body, the
form, terms, and provisions of the each of the instruments and documents governing the DIP
Facility to which each Company is or will be subject, and the actions and transactions
contemplated thereby be, and hereby are, authorized, adopted, and approved, and each of the
Authorized Persons of each Company be, and hereby is, authorized and empowered, in the
name of and on behalf of each Company, to take such actions and negotiate or cause to be
prepared and negotiated and to execute, deliver, perform, and cause the performance of the
DIP Orders and such other agreements, certificates, instruments, receipts, petitions, motions,
or other papers or documents to which each Company is or will be a party, including, but not
limited to, any security and pledge agreement or guaranty agreement in connection with the
DIP Facility (collectively with the DIP Orders, the “DIP Facility Documents”), incur and pay
or cause to be paid all fees and expenses and engage such persons, in each case, in the form or
substantially in the form thereof submitted to the Companies, with such changes, additions,
and modifications thereto as the officers of each Company executing the same shall approve,
such approval to be conclusively evidenced by such officers’ execution and delivery thereof;

        FURTHER RESOLVED, that to the extent applicable, each Company, as debtor and
debtor in possession under the Bankruptcy Code shall be, and hereby is, authorized to incur
the DIP Obligations and certain obligations related to the DIP Financing and to undertake any
and all related transactions on substantially the same terms as contemplated under the DIP
Facility Documents (collectively, the “DIP Transactions”), including guaranteeing such
obligations and granting liens on its assets to secure such obligations;

      FURTHER RESOLVED, that the Authorized Persons of each Company be, and they
hereby are, authorized and directed, and each of them acting alone hereby is, authorized,
directed, and empowered in the name of, and on behalf of, each Company, as debtors and


                                               3
            Case 24-10957-CTG          Doc 1     Filed 05/06/24     Page 16 of 22



debtors in possession, to take such actions as in their discretion is determined to be necessary,
desirable, or appropriate and execute the DIP Transactions, including delivery of: (a) the DIP
Facility Documents; (b) such other instruments, certificates, notices, assignments, agent fee
letters, and documents as may be reasonably requested by the applicable agents; and (c) such
forms of deposit, account control agreements, officer’s certificates, and compliance
certificates as may be required by the DIP Facility Documents;

      FURTHER RESOLVED, that each of the Authorized Persons of each Company be,
and hereby is, authorized, directed, and empowered in the name of, and on behalf of, each
Company to take all such further actions, including, without limitation, to pay or approve the
payment of all fees and expenses payable in connection with the DIP Transactions and all fees
and expenses incurred by or on behalf of each Company in connection with the foregoing
resolutions, in accordance with the terms of the DIP Facility Documents, which shall in their
sole judgment be necessary, desirable, proper, or advisable to perform any of each Company’s
obligations under or in connection with the DIP Orders or any of the other DIP Facility
Documents and the transactions contemplated therein and to carry out fully the intent of the
foregoing resolutions;

      FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, empowered, and directed in the name of, and on behalf of, each Company to seek
authorization for approval to use Cash Collateral pursuant to the DIP Orders, and any
Authorized Person be, and hereby is, authorized, empowered, and directed to negotiate,
execute, and deliver any and all agreements, instruments, or documents, by or on behalf of
each Company, necessary to implement the postpetition financing, including providing
adequate assurance to the Prepetition Secured Lenders (as defined in the DIP Credit
Agreement) in accordance with section 363 of the Bankruptcy Code, as well as any additional
or further agreements for entry into the DIP Facility Documents and the use of Cash Collateral
in connection with the chapter 11 cases, which agreements may require each Company to
grant adequate protection and liens to the Prepetition Secured Lenders (as defined in the DIP
Credit Agreement) and each other agreement, instrument, or document to be executed and
delivered in connection therewith, by or on behalf of each Company pursuant thereto or in
connection therewith, all with such changes therein and additions thereto as any Authorized
Person approves, such approval to be conclusively evidenced by the taking of such action or
by the execution and delivery thereof;

        FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, empowered, and directed in the name of, and on behalf of, each Company to
execute and deliver any amendments, supplements, modifications, renewals, replacements,
consolidations, substitutions, and extensions of the postpetition financing or any of the DIP
Facility Documents or to do such other things which shall in his or her sole business judgment
be necessary, desirable, proper, or advisable in order to perform the DIP Obligations and to
give effect to the foregoing resolutions, which determination shall be conclusively evidenced
by his or her or their execution thereof;

RETENTION OF PROFESSIONALS

       FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, empowered, and directed to employ on behalf of each Company: (a) the law firm
of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as general bankruptcy
counsel; (b) the law firm of Cole Schotz P.C. as co-bankruptcy counsel; (c) Triple P



                                               4
            Case 24-10957-CTG          Doc 1     Filed 05/06/24     Page 17 of 22



Securities, LLC, as investment banker; (d) Triple P RTS, LLC as financial advisor;
(e) Donlin, Recano & Company, Inc., as noticing and claims agent; and (f) any other legal
counsel, accountants, financial advisors, restructuring advisors, or other professionals the
Authorized Persons deem necessary, appropriate, or advisable (clauses (a) through (f),
collectively, the “Restructuring Advisors”); each to represent and assist each Company in
carrying out its duties and responsibilities and exercising its rights under the Bankruptcy Code
and any applicable law (including, but not limited to, the law firms filing any motions,
objections, replies, applications, pleadings, or responses); and in connection therewith, each of
the Authorized Persons, with the power of delegation, is, and hereby are authorized,
empowered, and directed, in accordance with the terms and conditions hereof, to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed
appropriate applications for authority to retain such services;

       FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, empowered, and directed to execute and file all petitions, schedules, motions, lists,
applications, pleadings, and other papers and to perform such further actions and execute such
further documentation that the Authorized Persons in their absolute discretion deem
necessary, proper, appropriate, or desirable in connection with each Company’s chapter 11
cases and in accordance with the foregoing resolutions;

CHAPTER 11 PLAN AND DISCLOSURE STATEMENT

        FURTHER RESOLVED, that in the business judgment of each Governing Body, it
is desirable and in the best interests of each Company, its creditors, and other stakeholders
that the Authorized Persons file or cause to be filed the Plan, the Disclosure Statement, and all
other papers or documents related thereto, and to take any and all actions that each Governing
Body deems necessary or appropriate to pursue confirmation and consummation of a plan of
reorganization materially consistent with the Plan;

       FURTHER RESOLVED, that the form, terms, and provisions of the Plan and
Disclosure Statement are hereby approved by each Governing Body;

       FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, together with the Restructuring Advisors, to file all other
documents as each, in his or her discretion, may deem necessary or advisable to confirm a
chapter 11 plan of reorganization that is materially consistent with the Plan and the RSA;

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed to take or cause to be taken any and all such other and further action,
and to execute, acknowledge, deliver, and file any and all such instruments as each, in his or
her discretion, may deem necessary or advisable in order to consummate a chapter 11 plan of
reorganization that is materially consistent with the Plan, and the RSA, if confirmed by the
Bankruptcy Court;

GENERAL

       FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, each of the Authorized Persons (and their designees
and delegates), either individually or as otherwise required by the Governing Documents, as
applicable, of each Company and the applicable laws of the jurisdiction in which such



                                               5
            Case 24-10957-CTG          Doc 1       Filed 05/06/24   Page 18 of 22



Company is organized, be, and each of them hereby is, authorized to execute, acknowledge,
deliver, and file any and all agreements, certificates, instruments, powers of attorney, letters,
forms, transfer, deeds, and other documents on behalf of each Company relating to
the Restructuring Matters;

       FURTHER RESOLVED, that each of the Authorized Persons (and their designees
and delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of
each Company to take or cause to be taken any all such other and further action, and to
execute, acknowledge, deliver, and file any and all such agreements, certificates, instruments,
and other documents and to pay all expenses, including but not limited to filing fees, in each
case as in such Authorized Person’s absolute discretion, shall be necessary, appropriate, or
desirable in order to fully carry out the intent and accomplish the purposes of the resolutions
adopted herein;

        FURTHER RESOLVED, that each Governing Body has received sufficient notice of
the actions and transactions relating to the matters contemplated by the foregoing resolutions,
as may be required by the Governing Documents, as applicable, of each Company, or hereby
waives any right to have received such notice;

       FURTHER RESOLVED, that all acts, actions, and transactions relating to the
matters contemplated by the foregoing resolutions done in the name of and on behalf of each
Company, which acts would have been approved by the foregoing resolutions except that such
acts were taken before the adoption of these resolutions, are hereby in all respects approved,
confirmed, and ratified as the true acts and deeds of each Company with the same force and
effect as if each such act, transaction, agreement, or certificate had been specifically
authorized in advance by resolution of each Company; and

        FURTHER RESOLVED, that any Authorized Person (and their designees and
delegates) be, and each of them hereby is, authorized to do all such other acts, deeds and other
things as each Company itself may lawfully do, in accordance with the Governing
Documents, as applicable, of each Company and the applicable laws of the jurisdiction in
which such Company is organized, howsoever arising in connection with the matters above,
or in furtherance of the intentions expressed in the foregoing resolutions, including, but not
limited to, the negotiation, finalization, execution, and delivery of any other agreements,
certificates, instruments, powers of attorney, letters, forms, transfer, deeds, and other
documents whatsoever as the individual acting may in his/her absolute and unfettered
discretion approve, deem or determine necessary, appropriate or advisable, such approval,
deeming, or determination to be conclusively evidenced by said individual taking such action
or the execution thereof.

                                *       *      *        *      *
                                    [Signature Pages Follow]




                                               6
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                            Case 24-10957-CTG            Doc 1      Filed 05/06/24       Page 19 of 22




                    IN WITNESS WHEREOF, the undersigned, constituting the board of directors of
            Appgate, Inc., do hereby consent to the foregoing actions and resolutions effective as of the date
            first written above. This unanimous written consent may be executed in counterparts, each of
            which shall be deemed an original and all of which together shall constitute one and the same
            instrument. This unanimous written consent may be executed by facsimile or email transmission
            and such facsimile or email transmission shall be valid and binding to the same extent as if it was
            an original.



                                                                     Manuel D. Medina



                                                                     Fahim Ahmed



                                                                     Leo Taddeo



                                                                     Benjamin Phillips



                                                                     Jonathan J. Ledecky



                                                                     Lisa Sibenac



                                                                     Steven G. Panagos



                                                                     Jeanne Manischewitz


                                                                     BEING ALL THE DIRECTORS
                                                                     OF APPGATE, INC.




                                 [Unanimous Written Consent - Joint Filing Resolutions Signature Page]
DocuSign Envelope ID: 40E51C11-AF01-4E40-8E3E-C43EE5091144
                            Case 24-10957-CTG            Doc 1      Filed 05/06/24       Page 20 of 22




                    IN WITNESS WHEREOF, the undersigned, constituting the board of directors of the
            entities listed below do hereby consent to the foregoing actions and resolutions effective as of the
            date first written above. This unanimous written consent may be executed in counterparts, each
            of which shall be deemed an original and all of which together shall constitute one and the same
            instrument. This unanimous written consent may be executed by facsimile or email transmission
            and such facsimile or email transmission shall be valid and binding to the same extent as if it was
            an original.


                                                                       BOARD OF DIRECTORS OF:
                                                                       Appgate Cybersecurity, Inc.
                                                                       Catbird Networks, Inc.
                                                                       Cryptzone Worldwide, Inc.
                                                                       Cryptzone International Holdings Inc.
                                                                       Cryptzone North America Inc.
                                                                       Easy Solutions Enterprises Corp.
                                                                       Easy Solutions, Inc.
                                                                       Immunity, Inc.


                                                                       Jeremy M. Dale



                                                                       Rene A. Rodriguez



                                                                       Steven G. Panagos



                                                                       Jeanne Manischewitz




                                 [Unanimous Written Consent - Joint Filing Resolutions Signature Page]
DocuSign Envelope ID: 40E51C11-AF01-4E40-8E3E-C43EE5091144
                            Case 24-10957-CTG            Doc 1      Filed 05/06/24       Page 21 of 22




                    IN WITNESS WHEREOF, the undersigned, constituting the sole managing member of
            entities listed below do hereby consent to the foregoing actions and resolutions effective as of the
            date first written above. This unanimous written consent may be executed in counterparts, each
            of which shall be deemed an original and all of which together shall constitute one and the same
            instrument. This unanimous written consent may be executed by facsimile or email transmission
            and such facsimile or email transmission shall be valid and binding to the same extent as if it was
            an original.


                                                                       SOLE MANAGING MEMBER OF:
                                                                       Immunity Federal Services, LLC
                                                                       Immunity Products, LLC
                                                                       Immunity Services, LLC


                                                                       Jeremy Dale




                                 [Unanimous Written Consent - Joint Filing Resolutions Signature Page]
  Case 24-10957-CTG            Doc 1      Filed 05/06/24       Page 22 of 22




                                       Schedule I

Appgate Cybersecurity, Inc.
Catbird Networks, Inc.
Cryptzone Worldwide, Inc.
Cryptzone International Holdings Inc.
Cryptzone North America Inc.
Easy Solutions Enterprises Corp.
Easy Solutions, Inc.
Immunity, Inc.
Immunity Federal Services, LLC
Immunity Products, LLC
Immunity Services, LLC




       [Unanimous Written Consent - Joint Filing Resolutions Signature Page]
